Case 2:10-cv-02598-STA-dkv Document 77 Filed 04/17/14 Page1of2 PagelD 415

IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF

TENNESSEE
WESTERN DIVISION
CHARLESTON SHIPP
PLAINTIFF
vs. NO: 2:10-cv-02598-STA-dkv

VISIONS SPORTS BAR & GRILL, INC.,
MARIA LOPEZ, MIKE FURFIK,

THE CITY OF MEMPHIS, TENNESSEE,
JIMMY HUDSON, ALKI KING,

NOEL JACKSON, and JULIAN

DEFENDANTS

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on May 17, 2011 and on July

29, 2011, by order of this court in favor of the Plaintiff, Charleston Shipp and against the

Defendants in the amount of $270,000.00 with costs having been tax and said judgment with

interest and costs thereon having been fully paid, and it is certified that there are no outstanding
executions with any Sheriff or Marshall.

THEREFORE, full and complete satisfaction of said judgment is hereby

acknowledged, and the Clerk of the Court is hereby authorized and directed to make an entry of

the full and complete satisfaction on the docket of said judgment.

Respectfully submitted,

/S/DRAYTON D. BERKLEY
Case 2:10-cv-02598-STA-dkv Document 77 Filed 04/17/14 Page 2of2 PagelD 416

DRAYTON D. BERKLEY, ESQ. (BPR 022601)
Attorney for Plaintiff

The Businessmen’s Club

81 Monroe Avenue, Suite 400

Memphis, Tennessee 38103

e-mail: attorneyberkley@gmail.com

CERTIFICATE OF SERVICE

The undersigned hereby certifies a copy of the foregoing has been served upon

counsel via ECF as follows:

Mr. Darrell J. O’Neal

Law Office of Darrell J. O'Neal
2129 Winchester Road

Memphis, TN 38115

Attomey for Mike Murfik or Furfik
Via ECF

Ms. Precious Moore Coleman

100 North Main Street Ste 2601
Memphis, TN 38103

Co-Counsel for Plaintiff Charleston Shipp
Via ECF

This the 17" day of April 2014.

/s/ Drayton D. Berkley
DRAYTON D. BERKLEY, ESO.

\\Hewserver\hgwlaw files\Drayton Berkicy\SHIPP\4-04-17 Satisfaction of Judgment doc
